Case 24-04025 Doci1 Filed 04/30/24 Entered 04/30/24 12:06:25 Desc Main

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B1040 (FORM 1040) (12/15)
ADVERSARY PROCEEDING COVER SHEET ADVERSARY PROCEEDING NUMBER
(Instructions on Reverse) (Court Use Only)
PLAINTIFFS DEFENDANTS

Dipakkumar P Pravin
7432 Bradford Pear Dr TX-75063

Sidhartha Mukherjee and Sunita Mukherjee
3905 Kite Meadow Drive Plano, TX 75074

N/A

ATTORNEYS (Firm Name, Address, and Telephone No.)

ATTORNEYS (If Known)
N/A

PARTY (Check One Box Only)

PARTY (Check One Box Only)

oO Debtor 0 U.S. Trustee/Bankruptcy Admin & Debtor 0 US. Trustee/Bankruptcy Admin
& Creditor oO Other O Creditor 0 Other
0 Trustee 0 Trustee

CAUSE OF ACTION (WRITE A BRIEF STATEMENT OF CAUSE OF ACTION, INCLUDING ALL U.S. STATUTES INVOLVED)
Sec 523: The two debtors provided false representations and provided false documents to receive loans; they provided

bank checks that bounced (net honored by their bank), and they did not include me in the list of creditors in their
Chapter 13 filings, which was then converted to Chapter 7 by the court.

NATURE OF SUIT

(Number up to five (5) boxes starting with lead cause of action as 1, first alternative cause as 2, second alternative cause as 3, etc.)

FRBP 7001({1) — Recovery of Money/Property
Oi) 11-Recovery of money/property.- §542 turnover of property
J 12-Recovery of money/property - §547 preference
O 13-Recovery of money/property - §548 fraudulent transfer
CJ 14-Recovery of money/property - other

FRBP 7001 (2) — Validity, Priority or Extent of Lien
C) 21-Validity, priority or extent of lien or other interest in property

FRBP 7001(3) — Approval of Sale of Property
CI 31-Approval of sale of property of estate and of a co-owner - §363(h)}

FRBP 7001(4) — Objection/Revocation of Discharge
C] 41-Objection / revocation of discharge - §727(c),(d),(e)

FRBP 7001(5) — Revocation of Confirmation
51-Reyocation of confirmation

FRBP 7001(6) — Dischargeability
O 66-Dischargeability - §523(a)(1),{14),(14A) priority tax claims
62-Dischargeability - §523(a)(2), false pretenses, false representation,
actual fraud _
O 67-Dischargeability - §523(a)(4), fraud as fiduciary, embezzlement, larceny

{continued next column)

FREP 7001(6) — Dischargeability (continued)

O 61-Dischargeability - §523(a)(5), domestic support

C] 68-Dischargeability - §523(a)(6), willful and malicious injury

O 63-Dischargeability - §523(a)(8), student loan

C 64-Dischargeability - §523{a)(15), divorce at geparation.obligation _
(other than domestic support) 3 ee

-
Oj 65-Dischargeability - other z5
oa
FRBP 7001(7) — Injunctive Relief rad Jn
71-Injunctive relief— imposition of stay co _.
C 72-Injunctive relief — other “9 i
FRBP 7001(8) Subordination of Claim or Interdst ro
81-Subordination of claim or interest 4S -
7 ti =
FREP 7001(9) Declaratory Judgment aT . Cs

91-Declaratory judgment

FRBP 7001(10) Determination of Removed Action
01-Determination of removed claim or cause

Other

CJ ss-sipa Case — 15 U.S.C. §§78aaa et.seq.

[1] 02-0ther (e.g. other actions that would have been brought in state court
if unrelated to bankruptcy case)

O Check if this case involves a substantive issue of state law

CO Check if this is asserted to be a class action under FRCP 23

o Check if a jury trial is demanded in complaint

Demand $ 103,625.00 Principal plus accrued interest

Other Relief Sought

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BANKRUPTCY CASE IN WHICH THIS ADVERSARY PROCEEDING ARISES

NAME OF DEBTOR BANKRUPTCY CASE NO.
Sidhartha Mukheriee and Sunita Mukheriee 23-41386
DISTRICT IN WHICH CASE IS PENDING DIVISION OFFICE NAME OF JUDGE
Fastern District of Texas Bankruptcy Plano Division | Hon Brenda T Rhoades
RELATED ADVERSARY PROCEEDING (IF ANY)
PLAINTIFF DEFENDANT ADVERSARY
PROCEEDING NO.
DISTRICT IN WHICH ADVERSARY IS PENDING DIVISION OFFICE NAME OF JUDGE
SIGNATURE OF ATTORNEY (OR PLAINTIFF)
\
D (hard on
DATE PRINT NAME OF ATTORNEY (OR PLAINTIFF)
April 30, 2024 Dipakkumar P Pravin
INSTRUCTIONS

The filing of a bankruptcy case creates an "estate" under the jurisdiction of the bankruptcy court which consists of
all of the property of the debtor, wherever that property is located. Because the bankruptcy estate is so extensive and the
jurisdiction of the court so broad, there may be lawsuits over the property or property rights of the estate. There also may be
lawsuits concerning the debtor’s discharge. If such a lawsuit is filed in a bankruptcy court, it is called an adversary
proceeding.

A party filing an adversary proceeding must also must complete and file Form 14, the Adversary Proceeding Cover
Sheet, unless the party files the adversary proceeding electronically through the court’s Case Management/Electronic Case
Filing system (CM/ECF). (CM/ECE captures the information on Form 104 as part of the filing process.) When completed,
the cover sheet summarizes basic information on the adversary proceeding. The clerk of court needs the information to
process the adversary proceeding and prepare required statistical reports on court activity,

The cover sheet and the information contained on it do not replace or supplement the filing and service of pleadings
or other papers as required by law, the Bankruptcy Rules, or the local rules of court. The cover sheet, which is largely self-
explanatory, must be completed by the plaintiff's attorney (or by the plaintiff if the plaintiff is not represented by an
attomey), A separate cover sheet must be submitted to the clerk for each complaint filed.

Plaintiffs and Defendants. Give the names of the plaintiffs and defendants exactly as they appear on the complaint.
Attorneys. Give the names and addresses of the attomeys, if known.

Party. Check the most appropriate box in the first column for the plaintiffs and the second column for the defendants.
Demand. Enter the dollar amount being demanded in the complaint.

Signature. This cover sheet must be signed by the attorney of record in the box on the second page of the form. If the

plaintiff is represented by a law firm, a member of the firm must sign. If the plaintiff is pro se, that is, not represented by an
attorney, the plaintiff must sign.
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Re: Case Number 23-41386
United States Bankruptcy Court: Eastern District of Texas

Bankruptcy Clerk's Office: Suire 300B, 660 North Central Expressway, Plano TX-75074

Debtor 1: Sidhartha Mukherjee
3905 Kite Meadow Drive Plano, TX 75074
dba Sri Laxmi Global Investment

Debtor 2: Sunita Mukherjee
3905 Kite Meadow Drive Plano, TX 75074
dba Dallas Creative Remodelers

Creditor: Dipakkumar (Dipak) Pravin
7432 Bradford Pear Dr, Irving, TX-75063 |

Date: April 30, 2024

Dear Honorable Court,

| respectfully submit the following objections in Case Number 23-41386 on my behalf.
OBJECT TO DISCHARGEABILTY UNDER §523,

| am writing to submit an objection pursuant to Section 523 of the Bankruptcy Code in
the matter of the bankruptcy case of the above named two debtors (hereafter referred
to as Mukherjees). As a creditor in this case, | have compelling evidence to suggest that
the debtor borrowed money from me under false representations, constituting grounds
for nondischargeability under Section 523 per my understanding.

(A) The Mukherjees obtained a loan from me on March-26,2021 for $25,000 as a short
term loan using a signed loan contract, by providing false representations regarding a
DHA (Dallas Housing Authority) project for which they needed to make initial deposit
(March 22, 2021, 2:35PM/CST Sammy, that is Mr. Mukherjee, sent me a message saying that he
is getting city jobs and would like money for “initial security deposit”). Another loan through
a signed contract of $30,000.00 was provided to Mukherjees on June 29, 2021; Mr.
Mukherjee requested help claiming that “We have to pay $75K that is 10% of the Bid value as a
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security deposit to sign the contract before 1st July”. | had sent money to them using my Bank
of America Account directly to their bank of America account in both cases.

Mukherjees during these talks in 2021 provided documents claiming those from DHA,
however those did not originate from DHA to the best of my knowledge. These
misrepresentations were material to my decision to extend credit to the Mukherjees and
were made with the intent to deceive and defraud me.

| would like to note that during the two recorded 341 trustee hearings (Oct-05-2023 and
Jan-05-2024) in this matter Mukherjees have accepted having taken loans from me for
the DHA projects. During the Jan-05-2024 hearing, Mukherjees had agreed to provide
documents proving they gave deposit to DHA, but to the best of my knowledge they
have not done so.

During Jan-05-2024 341 hearing, Mukherjees also agreed that they have sent invoices to
DHA, and they will provide to Trustee the copies of invoices that they had sent to DHA,
but they had not provided to the Trustee to the best of my knowledge.

(B) | am also holding three different bank checks (two for Wells Fargo account ending
#5935 and one for Chase Bank account ending #9665) signed by Mr. Mukherjee none of
which were honored by their bank: they still owe me the money.

In my understanding their actions constitute a clear violation of the principles of
honesty and fair dealing essential to the lending relationship. By obtaining the loan
through deceitful means, the debtor has unjustly enriched themselves at my expense
and caused financial harm to me as the creditor.

In accordance with Section 523 of the Bankruptcy Code, | respectfully request that the
court determine the debt owed to me by the debtor to be nondischargeable. In my
understanding, if they receive the discharge of my debt under this circumstance then it
would contravene the purpose of the bankruptcy laws, which are designed to provide
relief to honest debtors while protecting the rights of creditors against fraudulent
conduct.

OTHER OBSERVATIONS

(1) Mukherjees filed their Chapter 13 Bankruptcy on 7/31/2023 and at that time they did
not include my name as one of the creditors. However, Mr. Mukherjee had been
communicating with me till August 21, 2023 and gave assurance and various plans to
pay back my money.

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(2) During the recorded 341 trustee hearings of Oct-05-2023, Mr. Mukherjee claimed
that he [Dipak Pravin] was not listed as a creditor on 7/31/2023 since he is not a creditor
because it was a friendly transaction; although there is well-established & clear evidence
even in their own signed documents, email/WhatsApp messages and spoken words at
the trustee hearings that they owe me money.

Further, there was one more creditor who came forward during the hearing whose name

was not on the Mukherjees’ list. | believe they had included other creditors’ names who
had filed civil case against Mr. Mukherjee.

Since both above actions (1) & (2) by Mr. Mukherjee under oath were done intentionally
to provide false information to the court during the bankruptcy process about money
owed to me, | respectfully urge the court to reject Mukherjees request to dismiss the
debt they owe to me.

| am prepared to provide supporting evidence and testimony to substantiate this
objection and ensure that justice is served in this matter. Thank you for your attention to
this important issue.
Respectfully,

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Debalr fin

Name: Dipakkumar P Pravin

April 30, 2024

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INVESTMENT CONTRACT

This lavestment Contract ttne “Contrace™ vr “Agreemern ct": is mace
as of dale March 6, 2921 ‘the “kffective Gate"! by and 1

DETWEERS
Dipakkumar P Pravin, (12. Brad‘ors Pear Uo, living Ta-'oter*
ARDS

Dallas Creative Remodelers caving ‘egistered office at Yer)
Amnerton IKWY, Tallas TX-79L42 4 (stated al 3995 Fite Mcacew Urive,
Frang Fe-TEGTSA Ls recreser.ted py Sidharina Mukheriee

Dallas Creative Remodelers fas cctained Tentract blur providing
Various construction S@revices fe varicas Governmer® Organizations
4 desires tc Lnvite investment Lrot Dipakkwmar P Pravin in <rder
to start execution of the sa:a construction jobs.

THEREFORE, in consideration ef the metua. promises sev forth below,
the Parties agree as follows: i

DESCRIFTION OF TRARSACTION

Dipakkumear PF Pravin will inves: $28,000 (USi Twenty five
Thousanctw:th Dallas Creative Remodelers as 4 short term ican
on March 76, 2021 in the Hank account cof Dallas Creative
Remodelers {cr a period of 4 months. Dallas Creative
Remodalers will use tnese funds towards cxecution of various
Construction yobs mentioned above, Alter compieticon cf 4
months Dallas Creative Remodelers «iil return the [navestment
of $23,000 (JE% Tweety five Theusanaj)ts Dipakkumar P Pravin.
Daliaa Creative Remodelers will aise pay a cmonthiy fixed
Rerurn on Investment 42.5% or tne orincspal amount cf $25,006
(0 Dipakkwnar PF Pravin ‘totaling tc $27,500. Ali the
transaction wWi.. Ge aone fnrcugh bank.

INVESTOR: Dipekkumar P Pravin

ch atinte : March cé, -021

By:

CONTRACTOR: Dallas Creative Rencdelers

Sidhartha Mukherjee Authorized signatory

By: Suhasthe Wlablager bate: March 26, 202:

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INVESTMENT CONTRACT

This Investment Contract (the "Contract" or “Agreement"}) is made
as of date June 29, 2621 (the "Effective Date") by and

BETWEEN
Dipakkumar P Pravin, 7432 Bradtord Pear Dr, Irving TxX-75063
AND

Dallas Creative Remodelers having registered office at 92?1
Amberton PKWY, Dallas TX-75243 & located at 3905 Kite Meadow Drive,
Plano TX-75074 is represented by Sidhartha Mukherjee

Dallas Creative Remodelers has obtained Contract for providing
various construction services to various Government Organizations
& desires to invite investment from Dipakkumar P Pravin in order
to start execution of the said construction jobs.

THEREFORE, in consideration of the mutual promises set forth below,
the Parties agree as follows:

DESCRIPTION OF TRANSACTION

Dipakkumar P Pravin will invest $30,000 (USD Thirty
Thousand)with Dallas Creative Remodelers as a short term
loan on dune 29, 2021 in the Bank account of Dallas
Creative Remodelers for a period of 4 Weeks. Dallas
Creative Remodelers will use these funds towards execution
of various Construction jobs mentioned above. After
completion of 4 weeks Dallas Creative Remodelers wiil
return the Investment of $36,000 (USD Thirty Thousand)te
Dipakkumar P Pravin. Dallas Creative Remodelers will also
pay a fixed Return on Investment @2.5% on the principal
amount of $30,000 to Dipakkumar P Pravin totaling to
$30,759. All the transaction will be done through Bank.

INVESTOR: Dipakkumar FP Pravin

By: Date : June 29, 2021

CONTRACTOR: Dallas Creative Remodelers

Sidhartha Mukherjee Authorized signatory

By: Sidtastha Mubherger Date: June 29, 2021

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Month-Due

Jul-26-2021
Aug-26-2021
Sep-26-2021
Oct-26-2021
Nov-26-2021
Dec-26-2021
Jan-26-2022
Feb-26-2022
Mar-26-2022
Apr-26-2022
May-26-2022
Jun-26-2022
Jul-26-2022
Aug-26-2022
Sep-26-2022
Oct-26-2022
Nov-26-2022
Dec-26-2022
Jan-26-2023
Feb-26-2023
Mar-26-2023
Apr-26-2023
May-26-2023
Jun-26-2022
Jul-26-2023
Aug-26-2023
Sep-26-2023
Oct-26-2023
Nov-26-2023
Dec-26-2023
Jan-26-2024
Feb-26-2024
Mar-26-2024
Apr-26-2024

Total Pro-
rated Due as
of
April-26-
2024

Due from
Loan 25K
Mar-26-21

$27,500
$28,125
$28,750
$29,375
$30,000
$30,625
$31,250
$31,875
$32,500
$33,125
$33,750
$34,375
$35,000
$35,625
$36,250
$36,875
$37,500
$38,125
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$39,375
$40,000
$40,625
$41,250
$41,875
$42,500
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$44,375
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$45,625
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$46,875
$47,500
$48,125

$103,625

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25K Loan

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Due From
Loan 30K

Jun-29-2021

$30,750
$31,500
$32,250
$33,000
$33,750
$34,500
$35,250
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$37,500
$38,250
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30K Loan

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